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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

request for reconsideration of defendant’s motion for reduction

of sentence pursuant to 18 U.S.C. § 3582(c)(2) (Filing No. 1194).

The Court has reviewed defendant’s motion, the instructions

(Filing No. 592) given to the jury, the sentencing memorandum of

July 23, 1993 (Filing No. 728), and the statutes that were in

effect in 1992 and 1993.      The Court finds defendant’s motion for

reconsideration should be denied.         Accordingly,

            IT IS ORDERED that defendant’s motion for

reconsideration of defendant’s motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) is denied.

            DATED this 28th day of September, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
